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LA CV 20-224

March 22, 2021

Dear Judge Carter,

Thank you for taking the time to meet with my staff and I so many times over the last year. We
appreciate your hands on approach to this case and your willingness to come to our district to see
first hand the struggles and challenges facing our community.

Our homeless neighbors are suffering. And while we are doing our best to build as many beds as
possible as quickly as possible, we still have much work ahead of us. To solve this crisis we need
not only the City, but the County, LAHSA, our service providers, and the State to play their

part.

I am writing this letter in particular to the State's role, specifically CalTrans. As you know, there
is a large population of homeless individuals living near the freeways, and as is sometimes the
case in my district, on the freeways. I am attaching some photos to illustrate my concern. These
individuals are facing an immediate threat to their health and safety, as well as the safety of those
around them. We need the cooperation of CalTrans to ensure we can make contact with these
individuals and move them to a safer location.

It would be helpful for the City to have an agreement with CalTrans in regards to how we can
coordinate our outreach efforts and provide cleaning to an area once an individual has been
moved into a housing solution.

I welcome your feedback and assistance in this matter.

Sincerely,

Kae Duict |

Curren D. Price, Jr.
Councilmember, 9th District
      

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